Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2068 Filed 05/10/11

Page 1 of 1A |

Case 2:10-cv-10978-PJD-MJH

UNITED STATES DISTRICT COURT
IN THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

AMERICAN UNIVERSITY OF ANTIGUA,
COLLEGE OF MEDICINE, a foreign corporation,

Plaintiff,
Vv CASE No.: 2:10-cv-10978-PJD-MJH
Judge Patrick J. Duggan
Judge Michael Hluchaniuk, referral
STEVEN WOODWARD,
Defendant,

Defense Response to Plaintiff’s Motion for Security Costs

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Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2069 Filed 05/10/11 Page 2 of 51

Defense Response to Plaintiff’s Motion for Security Costs

The Defendant will now prove that they have been trying to perform Discovery Rule 26
in a Good Faith effort.

The Plaintiff has violated:

Rule 11 Signing Pleadings, Motions, and Other Papers; Representations to the Court;
Sanctions,

Rule 37. Failure to Make Disclosures or to Cooperate in Discovery, Sanctions, and

LR 83.22 Attorney Discipline.

Plaintiff's Motion for Security Costs is frivolous as defined by Judge Hluchaniuk.

The Plaintiff has deceived the Court and the Defendant concerning Discovery, blatantly
violating Rules 11 and Rule 37. The Plaintiff purposefully refused to act in Good Faith,

to confer or attempt to confer with the Defendant.

The Plaintiff filed (Docket 76) Motion to Compel is in Bad faith, violating Rule 11(b)
Representations to the Court. The Plaintiff filed “Plaintiff's Motion for Security for
Costs” not only in Bad Faith, but intentionally as a conspiracy to commit fraud against
the Defendant.

1. The Plaintiff has violated Rule 11 and Rule 37 intentionally refused to comply with
Discovery acting in Bad Faith, unprofessional behavior, and deceit with respect to the
Court and the Defendant. The Plaintiff has purposefully refused to accept Discovery

material, including the Defendant’s answers to the “Plaintiff's Request for Admissions”
Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2070 Filed 05/10/11 Page 3 of 51

The Defendant’s recording, DW_A0068.wav, Exhibit 1, of the February 1, 2011 is

evidence of this behavior.

(The Defendant is not a trained stenographer and will do their best to transcribe the
recording. )

Time Marker 1:32:45

E. Buikema: “’11 retain the exhibits”

S. Woodward: “Sure, there yours, I made them for you”

S.Woodward: “Do you want to witness the Visual Aids at this time while you are here?
It’ll take 2 minutes.

I'd like it on my recording Mr. Buikema is now leaving refusing again to view, ah, visual

aids.”

Time Marker 1:34:48
S. Woodward: “He didn’t take his answers to his Interrogatories either.”
Stenographer: “That wasn’t marked was it? He didn’t mark it as an exhibit.”

S. Woodward: “He didn’t want it again. OK”

2. Judge Hluchaniuk gave his opinion on the production of Discovery information prior
to the March 24, 2011 Deposition as recorded in electronic file, DW _A0069.wav,

Exhibit 1.
 

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Note: Eric Buikema did not attend his own requested deposition of Steve Woodward
instead sent Paul M. Kittinger on March 24, 2011.

(The Defendant is not a trained stenographer and will do their best to transcribe the
recording. )

Time Marker: 9:36

S. Woodward: I think this has been very bias. The attitude, I’ve brought this evidence
and they have refused to look at it during your hearing and during the last deposition.
Judge Hluchaniuk: They don’t have to look at it, you have to make it available to them
and if they elect not to look at it, then you’ve satisfied your obligation by making it
available.

S. Woodward. So I’m finished with my court order of.....you ordered

Judge Hluchaniuk: What, what you need to do to document the fact that you’ve made it
available is to identify in some list the items that you have presented to them and made
available to them so that its clear what, what, what they had the opportunity to see, if they
elect not to look at it that’s their problem not yours so you have to make it available to
them and, ah, I can’t force somebody to look at documents. I can compel a party to
produce for inspection of documents which we have done and if you’ve produced it and
afforded them the opportunity to look at it and they don’t want to that’s up to them, but in
order to properly document what you have made available to them you need to list it, and
create a list with some descriptive language which could be used to show what it was that
was made available to them

S. Woodward: OK
Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2072 Filed 05/10/11 Page 5 of 51

Judge Hluchaniuk: Do you have a different view of the rules?

Plaintiff: | think what Mr Woodward is getting at is he, he brought some visual aids, um,
that are responsive to the decus tecum portion of the deposition notice and the discovery
request he’s....

S. Woodward. and your Order Sir.

Plaintiff. There is a continuing obligation to answer discovery. The Court ordered him to
answer interrogatories, and request for production of documents to date he has not done
so.

S. Woodward. | have your honor

I produced those every single hearing we’ve had, every single one of these depositions
that these guys have cancelled. I’ve brought this documentation with me it’s here, it’s
here today and they refused to take it, he refused.

I have a recording of him refusing to even turn around and look at the documentation
including these of which I brought to the last deposition.

Judge Hluchaniuk. Well, it’s my belief that if you make those documents available and
that as long as it’s clear, so that we can if there is a contest over this in the future we can
determine what it was that was made available to them, the obligation of a party in
discovery as far as I’m concerned is to, you can produce copies, or simply make copies
available, and um, if he brought documents for the inspection for the opposing counsel
and the opposing counsel chooses not to look at it then he’s satisfied his obligations as far

as I’m concerned.
 

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3. The Defendant tried to confer with the Plaintiff in an email, Exhibit 2,concerning
Discovery and listed the documents the Plaintiff had an opportunity to review and take
during the December 22, 2010 Hearing.

Exhibit 2, December 16, 2010 12:15:52 PM, From: Defendant To: Plaintiff

Subject: AUA vs Woodward — Documentation, Inerrogatories, Admissions,
Documentation Requests

The Defendant listed what they were going to bring to the December 22, 2010 Hearing in
the email:

“Please schedule time after the December 22"" Hearing to sign-for(verify receipt)
and receive approximately 2,500 pages of my Exhibits and Rule 26 documentation,
my answers to your interrogatories, Request for Admissions, and Requests for
Production”

The Plaintiff refused to look at it after the December 22, 2010 Hearing.

The Defendant was in compliance to the Court Opinion concerning production of
discovery at this time, December 22, 2010.

During the December 22, 2010 Hearing conversation it is proven the case that Mr.
Buikema intended to commit this deceit.

(The Defendant is not a trained stenographer and will do their best to transcribe the
recording. )

Recording: Exhibit 1, file: Hluchaniuk_20101222-1103_01cbalc7d2325970

Time Marker: 22:12

S. Woodward: Here’s all my documentation your honor. There it is, that’s my entire

case.
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Time Marker: 1:07:58

S. Woodward: | suspect there will be more motions for that seeing that I’ve requested a
substantial amount of information from Mr. Buikema which is obvious that he’s stated
that if hasn’t appeared yet and he has basically 4 hours to produce it.

Judge Hluchaniuk: | would also note the existence of a, another motion that has been
filed in this matter relating to filed by the Plaintiff relating to the Defendant’s failure to
produce documents and comply with other discovery request is that right. I just note that
that’s been filed. The time for responding has not passed yet but that is another issue that
may come before me.

S. Woodward: Any documents that he’s requests, all his answers to his Interrogatories,
all his answers for his Admissions, all of his documentation is here.

Mr. Buikema: It’s there, but I didn’t address it ---- it’s not important.

Judge Hluchaniuk: It’s not scheduled for today, I’m just noting the existing of it and Mr
Woodward is saying that he intends to comply with that today, whether that actually
comes to pass is another issue which we may address at another time but I certainly invite
you Mr Buikema to look at what Mr Woodward has brought to Court today and accept
what he has and make a determination of whether that satisfies your motion.

Mr. Buikema:: I have a logistical issue with that today, I just---but ah—

Judge Hluchaniuk: That’s fine, it’s certainly not unreasonable the you would be unable
to inspect those documents today under the circumstances, but if he has documents to
take with you I would certainly encourage you to take those and then assess the
completeness of that production as soon as you possibly can

Mr. Buikema:: I will
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But Mr Buikema did not take the documents, instead opted on storming out of the
Courtroom.
4. The email, Exhibit 2, is dated: Thu, December 16, 2010 12:15:52 PM clearly showing
the Defendant tried to confer with the Plaintiff concerning the exchange of all the
requested Discovery material.
Instead of conferring, either accepting or refusing this request, the Plaintiff filed a Motion

to Compel in Bad Faith.

Court records show the Plaintiff's Motion to Compel, Docket 76, from Case History
Exhibit 3, was filed on December 16, 2010, 3:58 PM, Exhibit 4; nearly 3.5 hours after
the Defendant tried to confer with the Plaintiff concerning the exchange of Discovery

materials.

The Plaintiff did not confer with the Defendant concerning the Discovery material in
Good Faith, instead they file a frivolous Motion(Docket 76) before the Court in an

attempt to defraud the Defendant before the Court, violating Rule 11.

5. The Plaintiff has libeled, slandered the Defendant in their Motions and before the

Court with statement such as were recorded by the Defendant:

Plaintiff's attorney to Judge Hluchaniuk, Exhibit 1 (file DW_A0069.wav)
 

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Plaintiff: “There is a continuing obligation to answer discovery. The Court ordered
him to answer interrogatories, and request for production of documents to date he

has not done so.”

The Defendant fulfilled all their obligations to the Plaintiff concerning Discovery Rules
33, 34, and 36 at the December 22, 2010 Hearing by bringing all of their Discovery

information to Court; the Plaintiff refused to look at it.

The Defendant tried to satisfy all their obligations for Discovery on December 22, 2010,
January 4, 2011 of which the Plaintiff cancelled approximately one hour prior to the
deposition, January 10, 2011, of which the Plaintiff cancelled the morning of the

deposition.

On February 1, 2011 the Plaintiff refused again to look at or take the requested Discovery
materials, including the Defendant’s answers to the Plaintiffs Interrogatories.

February 1, 2011 was the second time the Plaintiff refused to take the Defendant’s
answers to the Plaintiff's Interrogatories, the first time was the December 22, 2010
Hearing.

The Plaintiff has purposefully has refused to accept Discovery from the Defendant to
commit fraud, harass and burden the Defendant.

The Defendant tried to satisfy their responsibilities concerning Discovery for over two

and a half months prior to the Court Order to Compel, Docket 115, Exhibit 5.
Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2077 Filed 05/10/11 Page 10 of 51

6. The Plaintiff verified the receipt of the Defendant’s Discovery materials, including the
Defendant’s Answers the Plaintiff's Interrogatories and Admissions after the March 24,
2011 deposition as was recorded in DW_A0069.wav, Exhibit 1, (Exhibit 18).

Time Marker: 207:48

S. Woodward: Did you want to take ah your admissions or any of this stuff with you?
Plaintiff: Is that, are you serving it?

S. Woodward: Well I mean, I’m under Court Order to give you this information and so,
and so I want to give you this information so I’m not under violation of the Court Order.
Do you want to look at these exhibits that I’ve given you, these exhibits are on a list but

they are not part the information, this is more information that, that I’m going to use.

The Plaintiff acknowledged they received and examined the Discovery material and
agreed that if they were missing anything or wanted more information they would email
the Defendant and the Defendant would do what they could to get them the information.
Instead of complying with this agreement the Plaintiff frivolously filed “Plaintiff's
Motion for Sanctions for Defendant’s Failure to Comply with Court Order Compelling
Discovery” and “Plaintiff's Motion for Security for Costs”.

Plaintiff: I’m aware of your exhibits and you know I’m not replying about the
admissibility, but

S. Woodward: Right true

Plaintiff: I’ve inspected them

S. Woodward: OK, we’re good

10
 

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So I’m clear of all obligations for per the Court Order as far as producing documentation
and exhibits to you , right

Plaintiff: Assuming you’ve produced everything to me

S. Woodward: Well sure, I mean if there’s something, again, we said there’s something,
I don’t recall what it was that you wanted, that you, subpoena,

Do me a favor if there’s something you wanted in that list of Domain names that I have,
you send me an email of the stuff you want you want me to give you.

Plaintiff: OK

S. Woodward: Such as that subpoena and list of domain names and I'll get it to you.

-The Plaintiff had in their possession and reviewed the Defendant’s answers to the
Plaintiff's Interrogatory and the Defendant’s answers to the “Plaintiff's Request for
Admissions” on March 24, 2011 and not once asked any questions regarding the
Defendant’s answers to the Interrogatory or Admissions during the deposition while they
even had Stenographer and Mr Woodward present to answer the Objections. Instead the
Plaintiff elected to burden the Defendant with three frivolous Motions on April 29, 2011,
the last day to submit Motions, over one month after receiving the answers to the
Plaintiff's Interrogatories.

The Plaintiff has not made an effort to confer or attempt to confer with the
Defendant as agreed upon by the Plaintiff. The Plaintiff has not emailed the
Defendant concerning the production of any information they lost (OR
DESTROYED THEMSELVES) including the “Defendant’s answers to the

Plaintiff’s Requests for Admissions” The Plaintiff acknowledged that they

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inspected the Defendant’s documents that were brought to the March 24, 2011
deposition.

Per the recording of the deposition March 24, 2011, Exhibit 1, DW_A0069.wav.
“S. Woodward: you send me an email of the stuff you want you want me to give you.

Plaintiff: OK”

7. The Plaintiff continually refuses to confer with the Defendant concerning Discovery.
The Defense has tried to provide and work with the Plaintiff concerning Discovery, the

Plaintiff has refused to work with the Defendant.

A. Exhibit 9,
November 2, 2010
“I have not received a reply from the Plaintiff with regards to meeting me to see my

exhibits”

B. Exhibit 2

December 16, 2010 12:15:52 PM, From: Defendant To: Plaintiff

Subject: AUA vs Woodward — Documentation, Inerrogatories, Admissions,
Documentation Requests

“Please schedule time after the December 22" Hearing to sign-for(verify receipt)
and receive approximately 2,500 pages of my Exhibits and Rule 26 documentation,
my answers to your Interrogatories, Request for Admissions, and Request for

Production.”

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The Plaintiff refused to accept the Defendant’s Evidence/Exhibits, Interrogatories,
Request for Admissions, and Request for Production.

C. Exhibit 10

Date: December 27

“T will bring copies of my exhibits as before, please plan on signing for each of them”
D. Exhibit 11

Date: January 4, 2011

“J will bring copies of my exhibits as before, please plan on signing for each of them”
E. Exhibit 12

Date: January 12, 2011

“T will bring copies of my exhibits as before, please plan on signing for each of them”
F. Exhibit 13

Date: March 29, 2011

“Please check my exhibits I gave your attorney during the deposition.

I found a document that might not have been included with the other NBME
documents.

Document title: NBME Biochemistry Subject Examination Score Interpretation
Guide

At the top there number 614 and 8-17-06 is written by hand.

I count 24 pages”

G. Exhibit 14

Date April 17

13
 

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“You didn’t reply to this email concerning discovery”

H. Exhibit 15

Date: April 8, 2011

“Attached is a file New-Discovery-4-7-2011.zip

Inside this file is an amended Catalog of New discovery materials.
The Catalog is titled: Exhibit-List-4-7-201L.xls

I have not heard from you concerning file:

Document title: NBME Biochemistry Subject Examination Score Interpretation
Guide”

I. Exhibit 16

Date: April 8, 2011

“Please Confirm receipt discovery file.

New-Discovery-4-7-2011.zip”

8. The Defendant used the Plaintiff's own answers to Interrogatories, Exhibit 17, from
the Oakland County Circuit Court case no. 07-088103-CZ, as a template for answering
the Plaintiff's Interrogatories. The Defendant could not use the Plaintiff's answer’s to
Interrogatories in this case, since the Plaintiff has refused to answer any of the

Defendant’s Interrogatories and or Rule 34 Request for Documentation.

In these Interrogatories, Exhibit 17, the American University of Antigua did not answer

15 Interrogatories, Objected to 36, and only answered Interrogatory 10 “Unknown and

14
 

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this time” and 51 “No”. The American University of Antigua objected to all document

requests.

Demonstrating a pattern and history of Bad Faith concerning Discovery, Rule 26 by the

American University of Antigua.

The Defendant requests the Court strike the Plainitiff’s motions, as frivolous and sanction
the Plaintiff for violations according to Rule 11, Rule 37, and LR 83.22. The Defendant
requests the Court strike the Court Order, Docket 115 for being derived do to false

pretenses and intention to commit fraud.

9. The Plaintiff has provided no calculations to justify their claims for Costs and

Exspenses for $5,000.00.

List of Exhibits:
Exhibit 1. Disk containing DW_A0068.wav, February 1, 2011 Deposition recording and

DW_A0069.wav, March 24, 2011 Deposition recording, Hluchaniuk_20101222-
1103_01cbalc7d2325970 December 22, 2010 Hearing.

Exhibit 2. December 16, 2010 Subject: AUA vs Woodard — Documentation,
Interrogatories, Admissions, Documentation Requests

Exhibit 3. Case History page 5 of 6 Docket 76 12/16/2010 Motion to Compel
Exhibit 4. Email Marilyn Orem

Exhibit 5. Court Order Docket 115

Exhibit 9. November 2, 2010 Subject: AUA vs Woodward - Exhibits

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Exhibit 10. December 27, 2010 Subject: AUA vs Woodward
Exhibit 11. January 4, 2011 Subject: AUA v Woodward

Exhibit 12. Email Date January 12, 2011 Subject: AUA v Woodward — Deposition
February 1 2011

Exhibit 13. Email Date March 29, 2011 Subject: Woodward vs AUA

Exhibit 14. Email Date April 17, 2011 Subject: AUA vs Woodward — Discovery 4-7-
2011

Exhibit 15. Email Date April 8, 2011 Subject: AUA vs Woodward — Discovery 4-7-2011
Exhibit 16. Email Date April 8, 2011 Subject: AUA vs Woodward — Discovery 4-7-2011
Exhibit 17, American University of Antigua Interrogatory Answers

Exhibit 18, S. Woodward’s transcription of March 24, deposition

Steven Woodward
7211 Brittwood Ln
Flint, MI 48507
(810)235-7267

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Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2084 Filed 05/10/11 Page 17 of 51

From: Steve Woodward (steve_1_ woodward@yahoo.com)
To: ebuikema@cardellilaw.com; kzalewski@cardellilaw.com; marilyn_orem@muied.uscourts. gov;
Date: Thu, December 16, 2010 12:15:52 PM

Ce:
Subject: AUA vs Woodward - Documentation, Interrogatories, Admissions, Documentation Requests

Mr Buikema,

Depending on the Decisions and Order by the Honorable Judge Michael Hluchaniuk:

Please schedule time after the December 22nd Hearing to sign-for(verify receipt) and receive
approximately 2,500 pages of my Exhibits and Rule 26 documentation, my answers to your
Interrogatories, Request for Admissions, and Requests for Production.

What you receive will depend on the Order and Decision of the Court.

Please bring with you all documentation the Defendant has requested and the answers to:
Defendant's Interrogatories to Plaintiff

Defendant's Request for Documentation

Defendant's Request for Admissions

Thank you for your time,

Steven Woodward

This email and any attachments are intended for the sole use of the named recipient(s) and contain(s)
confidential information that may be proprietary, privileged or copyrighted under applicable law. If you

are not the intended recipient, do not read, copy, or forward this email message or any attachments.
Delete this email message and any attachments immediately.

EXHIBIT Z

5/6/2011 3:49. PM
 

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61 |Filed & 11/29/2010 \@ Response to Motion
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62 |Filed & 11/29/201 0% Order Referring Motion to Magistrate Judge
\Entered:
| 63 \Filed & \@ Response to Motion
[Entered: 11/29/2010)
64 |Filed & 11/30/2010 \@ Order Setting Hearing on Motion
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65 |Filed & 12/07/2010)" Response to Motion
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66 |Filed: 12/09/2010 \@ Reply to Response to Motion
\Entered: 12/10/2010:
| 67 |Filed & @ Notice (Other)
| |Entered: 12/13/2010:
| 68 Filed & 12/13/2010 /% Reply to Response to Motion
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71 |Filed & 12/14/2010 /@ Supplemental Brief
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72 |Filed & 12/16/2010 3 Order on Motion for Preliminary Injunction
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Entered:
76 |Filed & @ Motion to Compel
Entered: 12/16/2010

EXHIBIT 3

12/22/2010 01:27 PM

 
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http://us.mg6.mail.yahoo.com/de/launch?.gx=1 &.rand=cgpbpge4mnqni
Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2086 Filed 05/10/11 Page 19 of 51

From: Marilyn Orem@mied.uscourts. gov (Marilyn Orem@mied.uscourts.gov)
To: steve_1 woodward@yahoo.com;

Date: Mon, May 9, 2011 1:32:32 PM

Ce:

Subject: Re: AUA vs Woodward 2:10-cv-10978

It was filed at 3:58 p.m.

From: Steve Woodward <steve 1 woodward@yahoo.com>
To: Orem Court <marilyn orem@mied.uscourts.gov>
Date: 05/09/2011 12:55 PM

Subject: AUA vs Woodward 2:10-cv-10978

Dear Mrs. Orem

I am trying to get some information concerning the time Docket 76 was
filed, case 2:10-cv-10978-PJD-MJH. I believe it was filed 15:58.

It was electronically filed by E. Buikema.
Thank you for your time,

Steven Woodward

This email and any attachments are intended for the sole use of the named
recipient(s) and contain(s) confidential information that may be

proprietary, privileged or copyrighted under applicable law. If you are not

the intended recipient, do not read, copy, or forward this email message or
any attachments. Delete this email message and any attachments immediately.

EXHIBIT

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5/9/2011 2:14 PM
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

AMERICAN UNIVERSITY OF ANTIGUA Case No. 10-10978

COLLEGE OF MEDICINE,
Patrick J. Duggan

Plaintiff, . United States District Judge -
VS.
Michael Hluchaniuk
STEVEN WOODWARD, United States Magistrate Judge
Defendant.
/

 

ORDER ON MOTIONS TO COMPEL (Dkt. ih i

This matter is before the Court on various discovery motions filed by the
parties. Plaintiff has filed a motion to compel defendant to answer certain written
discovery requests that have, apparently, gone unanswered. (Dkt. 76). In
response, defendant complains of various discovery abuses and other wrongs
purportedly committed by plaintiffs counsel, but offers no explanation regarding
why the discovery remains unanswered. wt 3), Based on the foregoing,
defendant is ORDERED to provide full and complete responses to plaintiffs
discovery requests within 14 days of entry of this Order.

Defendant moves for leave to serve 200 interrogatories on plaintiff because
it would be difficult for him to take depositions in this matter. (Dkt. 86). Plaintiff
objects to this request as excessive and unduly burdensome and unsupported by

any good cause or particularized need. (Dkt. 99). In its discretion, the Court

EXHIBIT 5~
Case 2: S83& A b8- Ay ISTE TY DENN Pessnsabd iS 2oslethad 8/4 oh B9RAG4 31 of 51

declines to permit defendant to ask plaintiff 200 interrogatories and defendant’ s
motion is DENIED. Defendant is directed to review Federal Rule of Civil
Procedure 31, Depositions by Written Questions, which may better suit his
purposes.

IT ISSO ORDERED.

The parties to this action may object to and seek review of this Order, but are
required to file any objections within 14 days of service as provided for in Federal
Rule of Civil Procedure 72(b)(2) and Local Rule 72.1(d). A party may not assign
as error any defect in this Order to which timely objection was not made.
Fed.R.Civ.P. 72(a). Any objections are required to specify the part of the Order to
which the party objects and state the basis of the objection. Pursuant to Local Rule
72.1(d)(2), any objection must be served on this Magistrate.

s/Michael Hluchaniuk

Date: March 15, 2011 Michael Hluchaniuk
United States Magistrate Judge
Case 2:CE8% A.dO7erE RIARIPY DME Posement dit} 20Bbet Hatt 85/1 0/Pe9b AG 32 of 51

_CERTIFICATE OF SERVICE

I certify that on March 15, 2011, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system, which will send notification of
such filing to the following: Eric A. Buikema, and I certify that I have either hand
delivered/ mailed by United States Postal Service the paper to the following non-
ECF participant(s): Steven Woodward, 7211 Brittwood Lane, Flint, MI 48507.

s/Tammy Hallwood

Case Manager

(810) 341-7887
tammy_hallwood@mied.uscourts.gov
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1 of 2

Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.209tP Eee os Le? Bg eas ep ee oe

From: Steve Woodward (steve_l_woodward@yahoo.com)

To: kzalewski@cardellilaw.com; marilyn_orem@mied.uscourts.gov; ebuikema@cardellilaw.com;
Date: Tue, November 2, 2010 1:15:06 PM

Ce:

Subject: AUA v Woodward - Exhibits

I have not received a reply from the Plaintiff with regards to meeting me to see my exhibits.

Please let me know when you would like to meet so you can view the exhibits.
I would prefer a public place halfway between Flint and your office.

_Instead of mailing you the paper copy of my exhibits I will bring them with me, to the mutually.agreed

upon public location, so you can witness and sign that you have received said exhibit.

Please contact me with the date and time you would like to meet, so I can determine if I am available to
meet you.

At the same meeting please bring copies of all your exhibits so I can sign that I have recetved them.
Sincerely,

Steven Woodward

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confidential information that may be proprietary, privileged or copyrighted under applicable law. If you
are not the intended recipient, do not read, copy, or forward this email message or any attachments.
Delete this email message and any attachments immediately.

 

From: Steve Woodward <steve_!_woodward@yahoo.com>

To: Kathryn Zalewski <kzalewski@cardellilaw.com>; Orem Court <marilyn_orem@mied.uscourts.gov>
Sent: Wed, October 27, 2010 9:52:41 AM

Subject: AUA v Woodward - 10-20-10 from Eric Buikema

I will not attend the deposition. J am filling a "Motion for Protective Order".
I will mail you a copy to your office, later today, after I have it stamped at the Court.

I will mail you the Exhibits, files and documentation you requested.

If you still require to see the fiber optic training device and the books I plan on bringing to court please
let me know and I will meet you half way between Flint and your office.

Thank you for your time,

Steven Woodward.

EXHIBIT

5/4/2011 11:39 AM
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From: Kathryn Zalewski <kzalewski@cardellilaw.com>
To: Steve_L_woodward@yahoo.com —

Sent: Thu, October 21, 2010 3:54:56 PM

Subject: AUA v Woodward - 10-20-10 from Eric Buikema

<<10-20-10 Itr to woodward - rule 26 disclosure.pdf>>
Sincerely,

Kathy Zalewski

Legal Secretary

Cardelli, Lanfear & Buikema, PC.

322 W. Lincoin

Royal Oak, MI 48067

(248) 544-1100

kzalewski@cardelliiaw.com

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applicable law. If you are not the intended recipient, you are hereby notified that any disclosure, copying,
distribution, or use of the information contained herein (including any reliance thereon) is strictly prohibited. If
you received this transmission in error, please contact the sender and destroy the material in its entirety, whether in
electronic or hard copy format. Thank you.

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Case 2:10-cv-10978-PJD-MJH ECE No. 152, Pagelb.209F FISH OelfO/tt Page 25 0f51

From: Steve Woodward (steve_l1_woodward@yahoo.com)

To: ébuikema@cardellilaw.com; kzalewski@cardellilaw.com; marilyn_orem@mied. uscourts. gov;
Date: Mon, December 27, 2010 3:38:59 PM

Ce:

Subject: AUA v Woodward

I will be attend the deposition per the notice January 4th deposition as requested.

I will bring a audio recorder and video camera to record the deposition.

I will bring copies of my exhibits as before, please plan on signing for each of them.

I will bring the books and the Fiber Optic Training device as well for your inspection.
1 also plan on bringing a witness.

Have a good day

Steven Woodward

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confidential information that may be proprietary, privileged or copyrighted under applicable law. If you
are not the intended recipient, do not read, copy, or forward this email message or any attachments.
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From: Kathryn Zalewski <kzalewski@cardellilaw.com>
To: Steve Woodward <steve_|_woodward@yahoo.com>
Sent: Wed, December 22, 2010 2:56:51 PM

Subject: AUA v Woodward - 12-22-10 from Eric Buikema

<<12-22-10 Itr to woodward - nod.pdf>> <<nod - woodward - 1-4-11.pdf>> <<plaintiffs reponse to defendant's
requests for admissions dated 11-22-10 - 12-22-10.pdf>> <<cos - rfa - 12-22-10.pdf>>

Sincerely,

Kathy Zalewski

Legal Secretary

Cardelli, Lanfear & Buikema, P.C.
322 W. Lincoln

Royal Oak, MI 48067

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(248) 544-1100
kzalewski@cardeliilaw.com

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applicable law. If you are not the intended recipient, you are hereby notified that any disclosure, copying,
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electronic or hard copy format. Thank you.

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Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.209%SnBe cay aPPe Bas eT ee

From: Steve Woodward (steve_1_woodward@yahoo.com)

To: ebuikema@cardellilaw.com; kzalewski@cardellilaw.com; marilyn_orem@mied.uscourts.gov;
Date: Tue, January 4, 2011 6:06:21 PM

Ce:

Subject: AUA v Woodward

I will attend the deposition per the notice January 10th deposition as requested.

I will bring a audio recorder and video camera to record the deposition.

I will bring copies of my exhibits as before, please plan on signing for each of them.
Please bring the documents I requested.

I will bring the books and the Fiber Optic Training device as well for your inspection.
1 also plan on bringing a witness.
Have a good day

Steven Woodward

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Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD. 20g" Pee oe): 10/11 Page 28 of 51

From: Steve Woodward (steve_1_woodward@yahoo.com)
To: kzalewski@cardellilaw.com; ebuikema@cardellilaw.com,

- Date: Wed, January 12, 2011 1:31:37 PM

Ce:
Subject: AUA v Woodward - Deposition February Ist 2011

I will attend the deposition per the notice February Ist, 2011 deposition as requested.
I will bring a witness, audio recorder and video camera to record the deposition.

I will bring copies of my exhibits as before, please plan on signing for each of them.
Please bring the documents I requested.

I will bring the books and the Fiber Optic Training device as well for your inspection.

Have a good day

Steven Woodward

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From: Kathryn Zalewski <kzalewski@cardellilaw.com>
To: Steve_L_woodward@yahoo.com

Sent: Mon, January 10, 2011 3:45:38 PM
Subject: AUA v Woodward - Deposition
<<second re-nod - woodward - 2-1-11.pdi>>
Sincerely,

Kathy Zalewski

Legal Secretary

Cardelli, Lanfear & Buikema, P.C.

322 W. Lincoln

Royal Oak, MI 48067

(248) 544-1100

kzalewski@cardellilaw.com

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Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD. 209" ag 05/10 /11 Page 29 of 51

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electronic or hard copy format. Thank you.

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Case 2:10-cv-10978-PJD-MJH ECE No. 152, PagelD.209”' Rag oeUet “Bage so of Si

From: Steve Woodward (steve_1_woodward@yahoo.com)

To: kzalewski@cardellilaw.com; ebuikema@cardellilaw.com; marilyn_orem@mied.uscourts.gov;
Date: Tue, March 29, 2011 9:16:17 AM

Ce:

Subject: Woodward vs AUA

Mr. Buikema,

Please check my exhibits I gave your attorney during the deposition.

I found a document that might not have been included with the other NBME documents.
Document title: NBME Biochemistry Subject Examination Score Interpretation Guide

At the top there number 614 and 8-17-06 is written by hand.

I count 24 pages

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Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2098 Filed 05/10/11 Page 31 of 51

From: Steve Woodward (steve_1 woodward@yahoo.com)

To: ebuikema@cardellilaw.com; kzalewski@cardellilaw.com;

Date: Sun, April 17, 2011 12:13:13 PM
Ce:
Subject: Re: AUA vs Woodward - Discovery 4-7-2011

You didn't reply to this email concerning discovery

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confidential information that may be proprietary, privileged or copyrighted under applicable law. If you
are not the intended recipient, do not read, copy, or forward this email message or any attachments.
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From: Steve Woodward <steve_|_woodward@yahoo.com>
To: Eric plaintiff Court <ebuikema@cardellilaw.com>; KathrynZalewski plaintiff <kzalewski@cardellilaw. com>

. Sent: Fri, April 8, 2011 12:09:00 PM

Subject: AUA vs Woodward - Discovery 4-7-2011
Mr. Buikema,

Attached is a file New-Discovery-4-7-2011.zip
Inside this file is an amended Catalog of New discovery materials.
The Catalog is tilted: Exhibit-List-4-7-2011.xls

I have not heard from you concerning file:

Document title: NBME Biochemistry Subject Examination Score Interpretation Guide

At the top there number 614 and 8-17-06 is written by hand.

Steven Woodward

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Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2088" Bika Os/tent Page 32 of51

From: Steve Woodward (steve_1_woodward@yahoo.com)
To: ebuikema@cardellilaw.com; kzalewski@cardellilaw.com;
Date: Fri, April 8, 2011 12:09:00 PM

Ce:

Subject: AUA vs Woodward - Discovery 4-7-2011

Mr. Buikema,

Attached is a file New-Discovery-4-7-2011.zip

Inside this file is an amended Catalog of New discovery materials.

The Catalog is tilted: Exhibit-List-4-7-2011.xls

I have not heard from you concerning file:

Document title: NBME Biochemistry Subject Examination Score Interpretation Guide

At the top there number 614 and 8-17-06 is written by hand.

Steven Woodward

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Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2100 Filed 05/10/11 Page 33 of 51

From: Steve Woodward (steve_l_woodward@yahoo.com)
To: ebuikema@cardellilaw.com; kzalewski@cardellilaw.com;
Date: Fn, April 8, 2011 12:14:07 PM

Ce.

Subject: Re: AUA vs Woodward - Discovery 4-7-2011

Please Confirm receipt discovery file.

New-Discovery-4-7-201 1.zip

Steven Woodward

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are not the intended recipient, do not read, copy, or forward this email message or any attachments.
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From: Steve Woodward <steve_|_woodward@yahoa.com>

To: Eric plaintiff Court <ebuikema@cardellilaw.com>; KathrynZalewski plaintiff <kzalewski@cardellilaw.com>
Sent: Fri, April 8, 2011 12:09:00 PM

Subject: AUA vs Woodward - Discovery 4-7-2011

Mr. Buikema,
Attached ts a file New-Discovery-4-7-2011.zip

Inside this file is an amended Catalog of New discovery materials.
The Catalog is tilted: Exhibit-List-4-7-2011.xls

] have not heard from you concerning file:

Document title: NBME Biochemistry Subject Examination Score Interpretation Guide

At the top there number 614 and 8-17-06 is written by hand.

Steven Woodward

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5/4/2011 12:22 PM
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STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF OAKLAND

i Poe ge

‘STEVEN WOODWARD ole bk,

Plaintiff, . BY tinaecee new eee enn

Case No. 07-088103-CZ
Hon. Shalina Kumar

TRINITY HEALTH-MICHIGAN,

a Michigan Nonprofit corporation,

SUSAN CATHERINE ZONIA, an individual,
AMERICAN UNIVERSITY OF ANTIGUA
A Foreign corporation,

Defendants,

NICOLETTI & ASSOCIATES, P.C.

Paul J. Nicoletti (P44419) LAW OFFICE OF DAVID B. GUNSBERG,
Attorney for Plaintiff P.C.
39520 Woodward Ave., Ste 200 . David B. Gunsberg (P24235)

Bloomfield Hills, MI 48304 Attorney for Defendant Trinity Health-Michigan
(248) 203-7800 / Fax: (248) 203-7801 and Susan Catherine Zonia;
paul(@nicoletti-associates.com Co-Counsel for Defendant American University
, of Antigua College of Medicine

LAW OFFICES OF BRYAN L. SCHEFMAN 322 North Old Woodward Ave.
Bryan L. Schefman (P35435) Birmingham, MI 48009
Attorney for Defendant American (248) 646-9090

University of Antigua College of Medicine
322 North Old Woodward Ave.
Birmingham, MI 48009

(248) 723-1650

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S FIRST SET OF
INTERROGATORIES AND REQUEST FOR DOCUMENTS TO DEFENDANTS

NOW COMES Defendants by and through their attorney, Law Offices of David B.
Gunsberg, P.C., and pursuant to mile 2.309 and 2.310 of the Michigan Rules of Court states the

following as their objections to Plaintiffs First Set of Interrogatories and Request for Documents

to Defendants.

 
Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2102 Filed 05/10/11 Page 35 of 51
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INTERROGATORIES :
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in accordance with the applicable rule. the Interrogatory answers should include |
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information obtained by and available to Defendants and their agents, servants, private ,

investigators, experts and attorneys and be returned within twenty-eight (28) days.
|

4

These interrogatories are to be regarded as continuing and you are requested to provide,

 

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by way of supplementary answers thereto, such additional information as may hereafter be

obtained by you or any person on your behalf which will augment or otherwise modify any

|
|
answers now given to the Interrogatories. |

DEFINITIONS OF TERMS AND INSTRUCTIONS |

When identification of any person is requested herein, give their: |

A. Name;

B. Current address: and

C. Employer, if any
When identification of any document, correspondence, order, or any other writing is requested,
Give its: -

A. Date;

B. Author or addressor:

C. Address:

D. Recipients of all copies:

E. Present location thereof:

F. Identity of all persons presently in custody, control, or possession thereof; and

G. State whether you will produce it upon request without the necessary court order.

In lieu of such identification, you may furnish documents for inspection and copying at the time |
you file answers to these Interrogatories. As used herein, person or party includes any |
individual, corporation, partnership, group, association, or any other organization. As used |
herein, document includes the original and all copies of correspondence, records, schedules,
tables, charts, reports, memoranda, notes, letiers, telegrams, invoices, orders, order forms, !
messages (including reports of telephone conversations and conferences), minutes, and inter |
and intra office communication, and all other written or printed matter of any kind. When!
requested to state the factual basis of any allegation in your answer to the Complaint Or;
proceeding, answer to any Interrogatory. identify each occurrence, incident, and the fact upon:
which you rely to support such allegation or answer, including: |

The date thereof:

The place thereof: :
The substance of each occurrence, incident and fact: °
Identification of each person who participated therein:

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| ali nicknames by which they have been known, address, phone number, and occupation(title.

es 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2103 Filed 05/10/11 Page 36 of 51

|
'£E. Identification of each person present; and
F. The source of your knowledge thereor. |
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| INTERROGATORY NO. 1:

Identify the individual or individuals answering these Interrogatories providing their full name anc

 

ANSWER:

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INTERROGATORY NO. 2:

 

State whether prior to answering these interrogatories, you have examined all information and
documents available to you relating to the subjects of the interrogatories.

ANSWER: w=Objected to as overly broad, vague and unable to be answered in the manne
promulgated.

INTERROGATORY NO. 3:

If your answer to Interrogatory No. 2 is negative, identify the information and documents that you
did not examine and state the reason that you-did not examine such information and documents.

ANSWER: “Objected to as overly broad, vague and unable to be answered
in the manner promulgated.

INTERROGATORY NO. 4:

lf you consulted a person, technician(s) or other expert(s), for any purpose to be used in
preparation of this matter for litigation, please provide person(s) name, profession or occupation,
the field in which he/she allegedly is an expert, and whether you intend to call him/her as a

witness during the trial of this case.

ANSWER: “Objected to as calling for attorney work product.

INTERROGATORY NO. 5:

Identify each person who has knowledge of any of the facts and circumstances surrounding this
lawsuit, including but not limited to the transaction between Plaintiff and Defendant, the
allegations contained in Plaintiffs Complaint, and the responses contained within Defendant's

Answer.
|

“Objected to as overly broad, ambiguous, vague, seeking irrelevant

ANSWER: information, not reasonably calculated to lead to the discovery of

admissible evidence. Plaintiff is referred to Defendant's Witness List.

 

 

 

INTERROGATORY NO. 6:

 

|
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Provide a detailed description of the testimony you expect to elicit from the person(s) listed in|
No. 5S above. |
 

 

 

 

 

 

 

 

 

 

 

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-ANSWER: Unknown at this time.

ANSWER: @#xObjected to as seeking artornex work product.

INTERROGATORY_ NO. 7:

ff you have ever spoken to the Plaintiff or a representative of same, please identify for each :
conversation, the dates, place at which the conversation took place, reason for the conversation. |

individuals present during, and what was said during the conversation by all parties.

|
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ANSWER: ~ Vbdjected to as vague, overly broad, and unable to be answered in |
‘ the manner promulgated. |

INTERROGATORY NO. 8:

Set forth the names, addresses, telephone numbers and identification of all other witnesses who |
you contemplate calling at the time of the trial of the above-captioned matter, indicating with
respect to each witness, the nature of the allegations or facts that the witnesses will be called

upon to support.

ANSWER: “Qbjected to as seeking attorney work product.

INTERROGATORY NO. 9:

Please list and describe all exhibits upon which you intend to rely on in this matter, and whether
you will allow us to obtain copies of those exhibits without the necessity of a motion?
(Exhibits includes any exhibits that you intend to use from the inception of this lawsuit through its

final adjudication)

ANSWER: “opjected to as seeking attorney work product.

INTERROGATORY NO. 10:

If you contend that any party, person or entity violated or failed to comply with any statute,
ordinance, law, regulation or standard in connection with this case, cite, enumerate or otherwise

fully describe each such statute, ordinance, law, regulation, or standard or attach copies, identify
the person or entity who violated or failed to comply with each matter; and describe the manner

of each violation or failure to comply.

INTERROGATORY NO. 11:

 

 

State the exact basis for each and every, if any, Affirmative Defense contained in Defendant's
Answer. produce any and all documents to substantiate each and every, if any, Affirmative

Defense.

eObjected to as overly broad, ambiguous and unable to be answered in

the manner promulgated.

INTERROGATORY NO. 12: ;

State the exact basis for each and every denial contained in Defendants’ Answer, produce any |
and all documents to substantiate each and every. if any, such denials.
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ANSWER:
 

 

 

Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2105 Filed 05/10/11 Page 38 of 51

‘e Objected to as overly broad, ambiguous and unable to be answered in

'
ANSWER: the manner promulgatec.

leiNTERROGATORY NO. 13:

State the employment description(s). and title(s) held by Susan Zonia at American University of

Antigua and Trinity Health, during 2007.

 

|
| ANSWER:

L

mINTERROGATORY NO. 14:

State and all medical degree(s) earned by Susan Zonia.

ANSWER:

| INTERROGATORY NO. 15:

£

When did Susan Zonia take the USMLE Step | exam?

ANSWER:

twINTERROGATORY NO. 16:

Did Susan Zonia communicate with Plaintiff prior to December 17, 2007?

ANSWER:

INTERROGATORY NO. 17:

if Interrogatory No. 16 is answered in the affirmative, please state the following information with

regarding to said communication(s):
A, Date(s) of all communication between Plaintiff and Susan Zonia prior to December

17, 2007.

The location(s)

December 17, 2007.

B of all communication(s) between Plaintiff and Susan Zonia prior to
C. The duration(s) of all communication(s) between Plaintift and Susan Zonia prior to
D
E

December 17, 2007.
Any and all known witnesses to all communication(s) b

Zonia prior to December 17, 2007.
_ Any and all known individual(s) involved with all communication(s) between
Plaintiff and Susan Zonia prior to December 17, 2007.
F. The subject matter of all communication(s) between Plaintiff and Susan Zonia prior

to December 17, 2007.

Objected to as overly broad, ambiguous, vague, seeking irrelevant
information, not reasonablv calculated ta lead to the discovery of

admissible evidence.

etween Plaintiff and Susan

ANSWER:

 

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| INTERROGATORY NO, 18:

 

INTERROGATORY NO. 20:

 

 

 

 

 

 

State the names. and positions held by any and all individual(s) referred to as “we” in the.

correspondence attached as Exhibit 1.

ANSWER: Objected to as overly broad, ambiguous, vague, seeking irrelevant
weinformation, not reasonahiwv calculated to lead to the discovery of |

admissible evidencc.-
INTERROGATORY NO. 19:

State the names, and positions held of any and all individual(s) who participated in the
Grievance Committee hearing against Plaintiff on December 49", 2007. .

ANSWER-*#Objected to as overly broad, ambiguous, vague, seeking irrelevant
“information, not reasonably calculated to lead to the discovery of

admissible evidence. °

How many Grievance Committee hearings against AUA students took place between 2006, and

2008.

ANSWER: “objected to as overly broad, ambiguous, vague, seeking irrelevant
sotormation, not reasonably calculated to lead to the discovery of
dnisst bls gyidence.

INTERROGATORY N

 

State the outcome and/or recommendation resulting from each of the Grievance Committee
hearings against AUA students between 2006, and 2008.

ANSWER: «Objected to as overly broad, ambiguous, vague, seeking irrelevant
information, not reasonably calculated to lead to the discovery of

admissible evidence.

INTERROGATORY NO. 22:

identify what dacuments, and testimony you intend to set forth to substantiate the claims of Mr.
Woodwar ’s “attitude and demeanor’ as stated in Exhibit 1.

ANSWER: ™Objected to as seeking attorney work product. ,

 

INTERROGATORY NO, 23: |
! |

Have Defendants addressed Mr. Woodward regarding attitude and demeanor at St Joseph, prior to |
December 17, 2007?

|
|
!

ANSWER: . Stjected to as overly broad, ambiguous, vague, seeking irrelevant |
sniormation, not reasonably calculated to lead to the discovery of
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issible evidence.

INTERROGATORY NO. 24:

If Interrogatory No. 23 is answered in the affirmative. please state the following information with
reaarding to. said communication(s):
|

 

 

Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2107 Filed 05/10/11 Page 40 of 51

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Date(s) of all communication between Plaintiff and Defendants prior to December

A,

17, 2007. .

E:. The location(s) of all communication(s) between Plaintiff and Defendants prior to
December 17, 2007.

Cc. The duration(s) of all communication(s) between Plaintiff and Defendants prior to :
December 17, 2007. :

D. Any and all known witnesses to all communication(s) between Plaintiff anc
Defendants prior to December 17, 2007.

E. Any and all known individual(s) involved with all communication(s) between

Plaintiff and Defendants prior to December 17, 2007.
F The subject matter of all communication(s) between Plaintiff and Defendants prior

to December 17, 2007. !

ANSWER: Wbjected to as overly broad, ambiguous, vague, seeking irrelevant
information, not reasonably calculated to lead to the discovery of

admissible evidence.

INTERROGATORY NO. 25:

tate the date(s) and location(s), and witness(es) for each claim that Mr. Woodward allegedly
“vented his anger toward the program” as stated in Exhibit 1.

ANSWER: \Objected to as overly broad, ambiguous, vague, seeking irrelevant
information, not reasonably calculated to lead to the discovery of

admissible evidence.

INTERROGATORY NO. 26:

State the date(s) and location(s), and witness(es) for each claim that Mr. Woodward allegedly
engaged in unreasonable dialogue with representative of the school as stated in Exhibit 1.

ANSWER: Sbiected to as overly broad, ambiguous, vague, seeking irrelevant
' information, not reasonably calculated to lead to the discovery of

admissible evidence.

INTERROGATORY NO. 27:

State the employment description(s), and title(s) held by Dr. John Hayden at American University of
Antigua and Trinity Health, during 2007.

ANSWER: Objected to as seeking irrelevant information and not reasonably calculated
to lead to the discovery of admissible evidence.

INTERROGATORY NO. 28:

Why did Dr. John Hayden state his appreciation for Plaintiff “feedback and the suggestions” as
referenced in the correspondence attached as Exhibit 2. |

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ANSWER: “Obiected to as seeking irrelevant information and not reasonably
calculated to lead to the discovery of admissible evidence.

INTERROGATORY NO. 29:

Prior to December 17, 2007, did Susan Zonia have knowledge of the correspondence attached
as Exhibit 2.
: “e 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2108 Filed 05/10/11 Page 41 of 51

| | ANSWER:

 

 

 

| ANSWER:

| as Exhibit 3.

INTERROGATORY NO. 32:

Prior to December 17, 2007, did anyone listed in the answer to Interrogatory No. 19 have

MNTERROGATORY NO. 35:

 

 

 

 

 

Prior to December 17, 2007, did anyone listed in the answer to Interrogatory No. 19 have

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INTERROGATORY NO. 30:
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knowledge of the correspondence attached as Exhibit 2.

INTERROGATORY NO. 31:

Prior to December 17, 2007, did Susan Zonia have knowledge of the correspondence attached

ANSWER: ‘Objected to as seeking irrelevant information and not reasonably
" calculated to lead to the discovery of admissible evidence.

Knowledge of the correspondence attached as Exhibit 3.

ANSWER: “Objected to as overly broad, vague and unable to be answered in the

manner promulgated.
INTERROGATORY NO. 33:

On or before December 19, 2007, did anyone listed in the answer to Interrogatory No. 19 have
knowledge of the correspondence attached as Exhibit 2.

&.
ANSWER: Objected to as overly broad, vague and unable to be answered in the
manner promulgated.

INTERROGATORY NO. 34:

On or before December 19, 2007, did anyone listed in the answer to Interrogatory No. 19 have
knowledge of the correspondence attached as Exhibit 3.

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ANSWER: Objected to as overly broad, vague and unable to be answered-in the
manner promulgated.

VVhen did Mr. Woodward state “waste of time” as reference in Exhibit 1.

 

 

 

 

ANSWER:

State the date(s), time(s), and locations of any and all exams which Mr. Woodward allegedly
sabotaged “by giving the same response to ail questions to simply to get it over with.” Exhibit 1.

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-INTERROGATORY NO. 36: |
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| ANSWER:
 

 

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‘|; INTERROGATORY NO. 37:

State the basis for the statement that Mr. Woodward was “sabotaging” exams. Exhibit 1.

ANSWER:

“| INTERROGATORY NO. 38:

What were Mr. Woodward's evaluation scores for professionalism and communication skills
between 2006 and 2007?

ANSWER:

L

“INTERROGATORY NO. 39:

When and why was Mr. Woodward contacted via pager by Defendant?

| ANSWER:

“+ INTERROGATORY NO. 40:

Did Mr. Woodward ever fail to return Defendants’ communication via pager.

ANSWER:

2 NTERROGATORY NO. 41:

——

if your answer in Interrogatory No. 40 is yes, state your basis for failing to contact, or Dr
Brietenbach’s office, or Plaintiff via telephone?

ANSWER:
han TERROGATORY NO. 42:
When did Mr. Woodward’s pager number change’?

ANSWER:

 

INTERROGATORY NO. 43:

State your basis-for denying Mr. Woodward legal counsel or a recording device during his
Grievance Committee hearing.

ANSWER: “Objected to as irrelevant and not reasonably calculated to lead to the
discovery of admissible evidence.

INTERROGATORY NO. 44:

State the full and complete basis for the grievance procedures against Plaintiff on December 19,

 

2007.
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‘Wbjected to as irrelevant and nat reasonably calculated to lead te

| ARMGIVER: the discovery of admissible evidence.

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ANSWER:§ Objected to as irrelevant and not reasonabls

INTER ROGATORY NO. 46

Cis: Defendant(s) inform Plaintiff of the full and compleie basis for the grievance procedures

iu

against Plaintiff held on December 19. 2007
alculated to lead to

the discovery of admissible evidence.

INTERROGATORY NO. 46:

Vinee was Plaintiff first informed of the grievance procedures scheduled for December 19, 2007.

ANSWER YObjected to as irrelevant and not reasonably calculated to lead te
the discovery of admissible evidence.

INTERROGATORY NO. AT:

Did Piaintiff submit written request for continuance of the Grievance Committee hearing
scheduled for December 19, 2007,

ANSWER: ‘objected to as irrelevant and not reasonably calculated to lead to
the discovery of admissible evidence.

INTERROGATORY NO. 48:

Dic! Pieintiff submit written reason for the request for continuance of the Grievance Committee

heering scheduled for December 19, 2007.

ANSWER “®bjected to as irrelevant and not reasonably calculated to lead to
ee the discovery of admissible evidence.

INTERROGATORY NO. 49:

State the basis for denying PlaintifPs request for a continuance of the Grienvance Committee

hearing on December 19, 2007.
oem

ANSWER: Objected to as irrelevant and not reasonably calculated to lead te
“the discovery of admissible evidence.

INTERROGATORY NO, 51:

Dic Pigintiff provide written statement of appeal in accordance to the American University of
Antigua Handbook?

1 NSWER No.

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ERROGATORY NO. 52:

June 23, 2008, did Defendant(s S) receive email containing Plaintiff's written notice of appeal
including attached exhibits?
; ANSWER: objected to as irrelevant and not reasonably calculated to lead to
the discovery of admissible evidence. .

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INTERROGATORY NO. 53:

Did you Defendant(s) a hard copy of Plaintiff's written notice of appeal with attached exhibits on
or before June 27, 2008?

ANSWER: ®bjected to as irrelevant and not reasonably calculated to lead to

INTERROGATORY NO. 54:

State the basis for denying Plaintiff's written appeal on or before June 27, 2008.

ANSWER: “Objected to

e 44 of 51

the discovery of admissible evidence.

as irrelevant and not reasonably calculated to lead to

the discovery of admissible evidence.

INSTRUCTIONS FOR REQUEST FOR DOCUMENTS
You must serve a written response within 28 days after service of this request. Your
response must state that production and related activities will be permitted as requested or

that the requested production is objected to, in which event the reasons for your objection

must be stated,

Documents produced for inspection must be produced as they are kept in the usual course
of business or be organized and tabeled to correspond with the categories in this request.

ff you do not agree to allow the requested production at a reasonable time and on

requiring the requested

reasonable conditions, a motion may
production.

The word “documents” means writings, drawings, graphs, charts, photographs, computer

files, and other data compilations from which information can be obtained and translated into

reasonably:usable form.
The words “you” and “your” mean you, your representatives, agents, insurers, attorneys,

employees, directors, officers, subsiciari filiates, and all others over whom you have

control. !
 

| Cdse 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2112 Filed 05/10/11 Page 45 of 51

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REQUEST NO. 3

REQUEST NO. 4

EQUEST NO. 6

The words “possession, custody, or control" mean all documents and things belonging to :

vou that are in your possession, all documents and things belonging to others over which 2

you have custody. and all documents and things in the custody of others over which you !
have the right to control. |

DOCUMENTS REQUESTED

REQUEST NO. 4

All documents and evidence related to the answers, explanations, and denials to the Plaintift's
Complaint set forth in the Defendant's Answer to Complaint as well as the allegations contained

in Defendant's Motion for Summary Disposition.

_ Objected to as overly broad, ambiguous, seeking irrelevant
RESPONSE: information, not reasonably calculated to lead to the discovery of

admissible evidence.
REQUEST NO. 2
Provide all minutes, and records of evidence considered at the October, 2006 Grievance

Committee hearing against Plaintiff.

 

RESPONSE: Objected to as overly broad, ambiguous, seeking irrelevant
’ anformation, not reasonably calculated to lead to the discovery af

admissible evidence.

Provide copies of all reports, findings, and recommendations from the October, 2006 Grievance
Committee hearing against Plaintiff.

. Objected to as overly broad, ambiguous, seeking irrelevant
RESPONSE: = ’ :
information, not reasonably calculated to lead to the discovery of

admissible evidence,

Provide copies of minutes, and records of evidence considered at the December, 19, 2007

Grievance Committee hearing against Plaintiff.

 

 

RESPONSE: Objected to as overly broad, ambiguous, seeking irrelevant
information, mot reasonably calculated to lead to the discovery of

REQUEST NO, B°™!S8#Pi¢ evidence.

Provide copies of all reports, findings, and recommendations used to form the basis of Dr. Bell's
recommendation to dismiss Plaintiff from American University of Antigua College of Medicine.

 

RESPONSE: Objected to as overly broad, ambiguous, seeking irrelevant
, information, not reasonably calculated to lead to the discovery of

adn issible evidence.

 

Provide copies of minutes, and records of evidence considered at the July 10, 2008 hearing on
Plaintiff's > appeal, |

in :
 

 

 

 

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$e 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2113 Filed 05/10/11 Page 46 of 51

Objected to as overly broad, ambiguous, seeking irrelevant information,

not reasonably calculated to lead to the discoverv of admissible

RESPONSE:

evidence.
REQUEST NO. 7

Provide copies of all reports, findings, and recommendations used to form the basis of denying |
Plaintiff's appeal his dismissal from American University of Antigua College of Medicine.

RESPONSE: Objected to as overly broad, ambiguous, seeking irrelevant
' information, not reasonably calculated to lead to the discovery of

admissible evidence.

REQUEST NO. 8

Provide copies of all relevant provisions of the University’s Student Handbook which alleged!
require a “de novo review of the charges against you (Plaintiff) and of your defenses.” (se
attached correspondence).

Objected to as overly broad, ambiguous, seeking irrelevant
information, not reasonably calculated to lead to the discovery

of admissible evidence. No Attached correspondence.
REQUEST NO. 9

Produce a copy of the petition that Elizabeth Bullot and Lakedra Evens wrote to Defendant(s)
between 2006 and 2007.

Objected to as overly broad, ambiguous, seeking irrelevant

RESPONSE: information, not reasonably calculated to lead to the discovery
of admissible evidence. No Attached correspondence.

REQUEST NO.10

 

RESPONSE:

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All documents and evidence related to any Affirmative Defenses.

 

 

. Objected to as overly broad, ambiguous, seeking irrelevant
RESPONSE: -° . ° ? .
information, not reasonably calculated to lead to the discovery

of admissible evidence. No Attached correspondence.

REQUEST NO. 11

Any and all documents to be relied upon at trial including.

. Objected to as overly broad, ambiguous, seeking irrelevant
RESPONSE: * . i
information, not reasonably calculated to lead to the discovery

of admissible evidence. No Attached correspondence.

 

 

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Respectfully submitted,

LAW OFFICE OF DAVID B. GUNSBERG, P.C.

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David BD Gansbere (P2E035) Lacing |

Attorney for Defendants

" 322 North Old Woodward Ave.
Birmingham, MI 48009
248-646-9090

October 14, 2008
 

. Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2114 Filed 05/10/11 Page 47 of 51

(The Defendant is not a trained stenographer and will do their best to transcribe the

recording. )

Time Marker: 207:48
S. Woodward: Did you want to take ah your admissions or any of this stuff with you?

Plaintiff: Is that, are you serving it?

S. Woodward: Well I mean, I’m under Court Order to give you this information and so,
and so I want to give you this information so I’m not under violation of the Court Order.
Do you want to look at these exhibits that I’ve given you, these exhibits are on a list but
they are not part the information, this is more information that, that I’m going to use

Plaintiff: Are you supplementing your entire production

S. Woodward: Correct, Correct, OK, and, and again on the DVD I gave you, um
Plaintiff: Where’s that

S. Woodward: Make sure you take that, because this has, this has in it, um, you'll just
have to look at it. But it does, it tells you what that Robot is and it and it uh, there’s some
more information on there that I’ve gained since. This here, um, this information here an

can we go on the record please, because this is important, an an this is important, can we
go on the record, it’s up to you .

Plaintiff: That’s fine

S. Woodward: Ok, when we were discontinued at the first deposition we had on
February 1"! tried to tell him about the NBME before he got up and walked out. And
what I’m giving you I filed and what I was'trying, there’s two thing I need to explain to
him for that. I filed a subpoena to the NBME and this is the documentation that they sent
me. So I’m giving you a copy of it. Some of this documentation, I think if it says 614 or
something like that on it will be information that you already have. Right, they were part
of Exhibits you already have. Right, but you didn’t have maybe parts of it, and I wanted
to make sure that if there’s anything, this is all the information that the NBME gave me
per a subpoena that I, that I, issued to them and they sent that back. And that’s all my
personal student record stuff Some of it you have, which would be most of it, and some
of the back part stuff you wouldn’t have.

Plaintiff: OK, your producing a copy of what you received in response to serving a
subpoena. ,

EXHIBIT 18
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S. Woodward: Correct, On top of that there was another subpoena served to the, to the
Network Solutions, which is AUA’s domain, Right. And the subpoena is in the back.

I couldn’t find he subpoena to this one, but that’s the subpoena to that one and this, again
to this for my personal information they gave it to me. :

_ Pll look for it more if you need a copy of the subpoena, I’ll look for it, I can’t find it.

That’s the subpoena I wrote, that’s the information I got back. Basically they couldn’t do
anything for me. But I want to make sure that you weren’t upset because I wrote another
subpoena that I didn’t recall and that it, and that’s the reply I got from that subpoena.

Plaintiff: OK, Network Solutions

~ §. Woodward: Correct

Plaintiff: Are there other subpoenas that have...

S. Woodward: Right now, that, that should be it. What I’ve, what Ive, what’s happened
between, NBME, Sallie Mae, and ECFMG that should be it.

Plaintiff: Can I have a copy of this

S. Woodward: That’s yours I made that for you. I made that for you and I made that for
you.

And if I find that do you want me to fax you a copy of the original subpoena for the
NBME?

Plaintiff: That is required under court rules

S. Woodward: Oh see that that was the whole confutation. I didn’t know htat I wasn’t I
didn’t know the rules for subpoenas. Is why we got in a big tiff,

Plaintiff: This folder you handed me named, ah, 3/21/2011 Exhibits can I keep this?

S. Woodward: yea, yea those are you your copies
Do you want to look at everything else I brought while you’re here?

Plaintiff: _[’1l look at your visual aids

S. Woodward: OK

Plaintiff: Otherwise we’re done you can go off record
Stenographer: Is it safe for me to pack-up?

Plaintiff: yea

Stenographer: Mr Woodward is it safe for me to pack-up
oS

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S. Woodward: Yea, I mean, I think I’m just, yea, | think I just, if he wants to see this
stuff he can look at it.

This is a fiber optic training device and the interesting thing about it.

You have the, ah, comments from the Doctor, you have the that, they thanked me for
developing this for the University of Michigan Anesthesia Clinic program.

Plaintiff: For what is this for

S. Woodward: his is for, if you’re learning how to use, ah, a fiber optic training, fiber
optic dexterity 3mm camera, you know what I’m talking about fiber optics

Plaintiff: OK

S. Woodward: Most people think of them as like colonoscopy, right, but for anesthesia
that’s as big as fiber optic, that’s as big as your scope 1s.

Plaintiff: so this is to teach Doctors how to thread 1t through and,

S. Woodward: Correct, So what you do is you, instead of paying whatever these are 2
grand or whatever they are for producing this I made this for $50, $20.

Plaintiff: OK

S. Woodward: Right, Basically the interesting thing about it is that instead of going
down through you know, you can change the path. Depending on the, that’s what
anesthesia providers have to do they have to go down and they have to pick the airway
that they’re going to, because they don’t, they’re not looking up the colon, right.
They’re weaving around down in cavities, right. .

And they go Left or Right depending on where they where they nee to, doing whatever
they are doing. And the device is only that big around, I think that 1s.

- Plaintiff: OK

S. Woodward: Right, and so you can configure it different ways, you can put there’s a
little smilie face, that they put in there. I didn’t put that in there, somebody else did.

But, ah, you configure it like here’s another disc. Interesting thing about it is that these
disks you can change the placement of the disk. So as you go through here you have to
hit that one in the center and if you come up to this disk, you'd have either go, to go to
one of, so you can move it, because they’re flexible, Right, and it’s flexible during the
little hand...

Plaintiff: OK

S. Woodward: trigger on there, OK. So, that’s this.
 

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Plaintiff: This is a lot of stuff

S. Woodward: That, you have copies of everything that’s in there. I mean you can look

- through it. I’m not going to hide anything from you. Those are standard books.

This book here explains the corneal reflex test.
Plaintiff: OK

S. Woodward: Right, AUA can give you a copy of that. This here is Human Anatomy,
is from our Anatomy class. That AUA can give you, describes the eye.

This here is for a, I don’t recall whether it’s DLT or 3mm Tape cartridge, because of the
library on of the Libraries I worked on. I used this for training aids when I was teaching
kids how to, do you want to be an engineer. I gave you documentation where I received
awards, for teaching students if they wanted to be an engineer or not.

This is one of the hand assemblies that I worked on, actually I worked on the gripper
assemblies and how to get it to work nght.

This here you have information on all of this.

This is a Powderhorn hand, this hand, ah, I worked on this in 92’ and ah,

This was the Ferrari of tape drives at the time.

I mean every time you scan an American Express card good chances that, that data 1S
stored off-site somewhere, I believe in one of their offsite campuses, a whole there’s
warehouses full of these robots that store all this data in deep archieve.

Plaintiff: OK
S. Woodward: Matter of fact I think Langley has, If you watch the movie Patriot Games

one of these is in the movie Patriot Games, then I think Eraser has this in there and
they’re just short little blurbs you see the robot running around in the background

Plaintiff: OK

S. Woodward: Maybe, Clear, it’s one of...

Plaintiff: Tom Clancy movie

S. Woodward: Right, Right, Right you’ll see this in a couple of those and that because it
was so Hightech at the time.

So, I was the Advanced Manufacturing Engineer of this product

Plaintiff: OK

S. Woodward: You also have a video of how this product works an you can see the silo
I mena it’s like 10X 10 silo what these things run around in are there

US |
Case 2:10-cv-10978-PJD-MJH ECF No. 152, PagelD.2118 Filed 05/10/11° Page 51 of 51

Plaintiff: OK

S. Woodward: If you want to look at what this thing does, so, you need, you need...this
is my check board

Plaintiff: OK whatever you need

S. Woodward: I’m just saying

Plaintiff: Whatever your going to do your going to do

S. Woodward: Right, I’m not hiding anything I’m just saying

Plaintiff: I’m aware of your exhibits and you know I’m not replying about the
admissibility, but

S. Woodward: Right true
Plaintiff: [’ve inspected them ~

S. Woodward: OK, we’re good
So I’m clear of all obligations for per the Court Order as far as producing documentation
and exhibits to you , nght

Plaintiff: Assuming you’ve produced everything to me

S. Woodward: Well sure, I mean if there’s something, again, we said there’s something,
I don’t recall what it ws that you wanted, that you, subpoena,

Do me a favor if there’s something you wanted in that list of Domain names that I have,
you send me an email of the stuff you want you want me to give you.

Plaintiff: OK

S. Woodward: Such as that subpoena and list of domain names and I'll get it to you.
